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                          UNITED STATES DISTRICT COURT
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                        NORTHERN DISTRICT OF CALIFORNIA
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     In re LIDODERM ANTITRUST LITIGATION   MDL Docket No. 14-md-02521-WHO
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                                           ORDER PRELIMINARILY APPROVING
15                                         SETTLEMENTS, APPROVING NOTICE
     THIS DOCUMENT RELATES TO:
16                                         AND CLAIMS PLAN, AND APPROVING
     END-PAYOR PLAINTIFF ACTIONS
                                           PLAN OF ALLOCATION
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     [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENTS, APPROVING NOTICE
                AND CLAIMS PLAN, AND APPROVING PLAN OF ALLOCATION
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 1          On March 20, 2018, End-Payor Plaintiffs, on behalf of themselves and the End-Payor Class,
 2   entered into separate settlement agreements with (a) defendant Endo Pharmaceuticals Inc. (“Endo”);
 3   (b) defendants Teikoku Pharma USA, Inc. and Teikoku Seiyaku Co., Ltd. (together, “Teikoku”); (c)
 4   defendants Actavis, Inc. (f/k/a Watson Pharmaceuticals, Inc.), Watson Laboratories, Inc., Actavis plc,
 5   Anda Inc., Anda Pharmaceuticals, Inc., and Valmed Pharmaceuticals, Inc. (together, “Watson” and
 6   together with Endo and Teikoku, “Defendants”) (the “Settlement Agreements” or “Settlements”). The
 7   Court has considered End-Payor Plaintiffs’ Motion for Preliminary Approval of Settlements, Approval
 8   of Notice and Claims Plan, and Approval of Plan of Allocation, which was not opposed, and on April
 9   24, 2018, held a hearing concerning the motion. The Court finds that the Settlements warrant
10   preliminary approval and that notice of the Settlements should be distributed to the End-Payor Class.
11          The Court GRANTS the Motion and ORDERS as follows:
12          1.     Terms capitalized in this Order and not otherwise defined herein have the same
13   meanings as those used in the Settlement Agreements and exhibits thereto.
14   I.     Previously Certified Class
15          2.     In light of this Court’s previous order dated February 21, 2017 (ECF 670) certifying the
16   End-Payor Class pursuant to Fed. R. Civ. P. 23(a) and (b)(3), the exclusion notices received during the
17   opt-out period established by the order, and the now proposed Settlements, the Class is defined as
18   follows:
                   (a) All persons and entities in the United States and its territories who, in
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                       Arizona, California, Florida, Kansas, Maine, Massachusetts, Minnesota,
20                     Nevada, New Hampshire, New Mexico, New York, North Carolina, North
                       Dakota, South Dakota, Tennessee, West Virginia, or Wisconsin (“Class
21                     States”), for consumption by themselves or their family member, or by their
                       insureds, plan participants or beneficiaries, paid and/or provided
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                       reimbursements for some or all of the purchase price of:
23
                           i. Branded Lidoderm for the time period August 23, 2012 through
24                            September 14, 2013; and/or
25                         ii. AB-rated generic Lidoderm for the time period September 15, 2013
26                             through August 1, 2014;

27                 -and-

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                  (b) Third-party payors Cigna, MedImpact Healthcare Systems, Inc.,
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                      Comprehensive Health Management, Inc. Part D, and Express Scripts Senior
 2                    Care to the extent they provided, under their Medicare Part D plans,
                      reimbursements for some or all of the price of branded Lidoderm purchased in
 3                    Class States for the time period September 15, 2013 through August 1, 2014.
 4                Excluded from the End-Payor Class are:
 5
                  (a) Defendants and their officers, directors, management, employees, subsidiaries,
 6                    and affiliates;
 7                (b) Those who, after September 15, 2013, paid and/or provided reimbursements
                      for branded Lidoderm and did not purchase or reimburse for generic
 8
                      Lidoderm, except third-party payors Cigna, MedImpact Healthcare Systems,
 9                    Inc., Comprehensive Health Management, Inc. Part D, or Express Scripts
                      Senior Care for their Part D insurance;
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                  (c) Government entities, other than government-funded employee benefit plans;
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12                (d) Fully insured health plans (i.e., plans that purchased insurance that covered
                      100 percent of the plan's reimbursement obligations to all of its members);
13
                  (e) “Single flat co-pay” consumers who purchased Lidoderm or generic Lidoderm
14                    only via a fixed dollar co-payment that does not vary on the basis of the
15                    purchased drug's status as branded or generic (e.g., $20 for both branded and
                      generic drugs);
16
                  (f) “Flat generic co-pay” consumers who, after September 15, 2013, purchased
17                    generic Lidoderm via a fixed dollar copayment (e.g. $10 for generic drugs)
                      regardless of the co-payment applicable to branded drugs;
18
19                (g) Consumers who purchased or received Lidoderm or its AB-rated generic
                      equivalent through a Medicaid program only;
20
                  (h) Pharmacy benefit managers; and
21
                  (i) The judges in this case and members of their immediate families.
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23          3.    The following entities are excluded from the End-Payor Class, as they previously
24   excluded themselves from the Class and have not sought to opt back in: Carter Bank &
25   Trust; CVS Health Corporation; Darby Dental Supply, LLC; Powell’s City of Books; Rite Aid
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 1   Corporation; The Western Union Co.; Wisconsin Evangelical Lutheran Synod; and Wood
 2   Group Management Services, Inc. See Order Regarding Opt-Outs, ECF 946 (Dec. 28, 2017)1.
 3   II.       Preliminary Approval
 4             4.    This Court has jurisdiction over this action and each of the parties to the Settlements.
 5             5.    The Court finds that the proposed Settlements, which were arrived at by Court-ordered
 6   mediation under the auspices of Chief Magistrate Judge Joseph C. Spero and arm’s-length negotiations
 7   by experienced counsel after over four years of litigation, will likely warrant final approval as fair,
 8   reasonable, and adequate and that notice of the Settlements should be sent to the End-Payor Class.
 9             6.    The Court will make a final determination concerning the fairness, reasonableness, and
10   adequacy of the Settlements after further consideration at a final approval hearing.
11             7.    Pending final approval of the Settlement and the entry of final judgment, any and all
12   proceedings (other than those incidental to the settlement process) against Defendants in the Action
13   and Government Employees Health Association, Inc. v. Endo Pharmaceuticals Inc., et al., No. 14-
14   2180 (N.D. Cal.) are stayed.
15             8.    The Settlement Fund shall be maintained as a “qualified settlement fund” consistent with
16   the terms of the Settlements. The Court appoints Computershare Trust Co., N.A., as Escrow Agent.
17             9.    Neither the contents of this Order nor the Settlement Agreement nor any other
18   Settlement-related document or related proceedings shall constitute, be construed as or be deemed to
19   be evidence of or an admission or concession by any Defendant as to the validity of any claim that has
20   been or could have been asserted against a Defendant or as to any liability by a Defendant to the End-
21   Payor Class.
22   III.      Notice and Claims Plan
23             10.   The Court finds that the plan for distributing notice of the Settlements to the End-Payor
24   Class satisfies the requirements of Fed. R. Civ. P. 23(e)(1) and due process and is a reasonable manner
25   of distributing notice to class members who would be bound by the Settlements.
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          The End-Payor Class includes the entities that previously filed opt-out requests, subsequently
27   withdrew those requests and re-joined in the End-Payor Class. Those entities are identified in ECF 997.
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 1            11.   The Court appoints Kurtzman Carson Consultants (“KCC”) as Notice and Claims
 2   Administrator.
 3            12.   The Court approves the Long-Form Notice and Short Form Notices, Exhibits D-F to the
 4   Settlement Agreements, as amended and submitted at ECF 1014. The Notices apprise the End-Payor
 5   Class of the essential terms of the Settlements, their legal rights and options, the steps class members
 6   must take to object to the Settlements and submit claims, information concerning Class Counsel’s
 7   request for payment of attorneys’ fees, expenses, and service awards, and all relevant deadlines.
 8            13.   The Court approves the claim forms, as amended, as fair, reasonable, and adequate.
 9            14.   The Court finds that no further opportunity to opt-out is required under Rule 23(e)(4).
10            15.   Defendants shall provide notice of the Settlements as required by 28 U.S.C. § 1715.
11   IV.      Plan of Allocation
12            16.   The Court finds that the Plan of Allocation is fair, reasonable, and adequate.
13            17.   Although certain large insurers (which are identified in ECF 997) that had previously
14   opted out of the End-Payor Class and have decided to return to the End-Payor Class will receive an
15   initial portion of their claims payment before other claimants, the insurers will only receive their pro
16   rata share of the settlement proceeds and their initial payment will not delay the distribution of
17   settlement funds to other class members.
18   V.       Schedule
19            18.   The parties shall adhere to the following schedule:
20                                                                                   Days After Entry
       Event                                                    Calendar Date2       of Preliminary
21                                                                                   Approval Order
22
       Activation of website and toll-free number               May 23, 2018         21 days
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       Complete mailing of Long-Form Notice to third-           June 1, 2018         30 days
24     party payors.
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          The dates in the “Calendar Date” column assume that preliminary approval is granted on May 2,
27   2018.
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 1        Initiate publication notice                            June 6, 2018       35 days
 2        Complete publication notice                            July 31, 2018      90 days
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          End-Payor Plaintiffs shall submit (1) a motion for     July 31, 2018      90 days
 4        final approval and (2) a motion for the payment of
          attorneys’ fees, reimbursement of expenses, and
 5        service awards to the Class Representatives
 6        Deadline for submission of oppositions / objections    August 21, 2018    111 days
 7        to final approval and fee motions

 8        Deadline for submission of notices of intent to        August 21, 2018    111 days
          appear at the fairness hearing
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10        Deadline for End-Payor Plaintiffs to file replies in   September 4,       125 days
          support of final approval and fee motions              2018
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          Hearing on final approval and fee motions              September 12,      133 days
12                                                               2018
13
          Postmark date for members of the End-Payor Class       October 1, 2018    152 days
14        to submit claims and any required supporting
          material
15
          First distribution of settlement funds3                Early March 2019   10-11 months
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18   IT IS SO ORDERED.

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20   DATED: May 1, 2018                                      _____________________________________
                                                             THE HONORABLE WILLIAM H. ORRICK
21                                                           United States District Court Judge
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27    The first distribution follows Endo’s Second Payment, which is subject to the terms of the Settlement
     Agreement.
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